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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
VS. NO. 03-20485-Ma
DEMOND ROBINSON,
Defendant.
ORDER OF REFERENCE

 

This matter is referred to the magistrate judge for a hearing on defendant’s May 16, 2005

motion requesting new counsel.

lr Is so ORDERED this 3“ ay er May, 2005.

yth.__`

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

